              Case 2:20-cv-00961-RSM Document 11 Filed 09/14/20 Page 1 of 1




 1                                           THE HONORABLE RICARDO S. MARTINEZ
 2
 3
 4
                             UNITED STATES DISTRICT COURT
 5
                            WESTERN DISTRICT OF WASHINGTON
 6                                    AT SEATTLE

 7
     VALENTIN BUTOV,                              )   No. CV 20-961-RSM
 8                                                )
                     Petitioner,                  )
 9                                                )   ORDER GRANTING
               v.                                 )   SECOND STIPULATED MOTION TO
10                                                )   EXTEND TIME TO AMEND
     UNITED STATES OF AMERICA,                    )   BRIEFING SCHEDULE FOR § 2255
11                                                )   MOTION
                     Respondent.                  )
12                                                )
13          The COURT has considered the second stipulated motion to amend the briefing

14   schedule in order to allow Petitioner Valentin Butov time to file his reply brief in

15   support of his 28 U.S.C. § 2255 motion, by no later than September 25, 2020.

16          IT IS NOW ORDERED that the briefing schedule be amended in order to allow

17   the Federal Public Defender’s Office to file the reply brief for Mr. Butov no later than

18   September 25, 2020.

19          DONE this 14th day of September, 2020.

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                                                 A
                                                 RICARDO S. MARTINEZ
22                                               CHIEF UNITED STATES DISTRICT
                                                 JUDGE
23
     Presented by:
24
25   s/ Vanessa Pai-Thompson
     Assistant Federal Public Defender
26   Attorney for Valentin Butov

                                                                 FEDERAL PUBLIC DEFENDER
       ORDER GRANTING SECOND STIPULATION                            1601 Fifth Avenue, Suite 700
       TO AMEND BRIEFING SCHEDULE                                     Seattle, Washington 98101
       (Valentin Butov v. US; CV20-961RSM) - 1                                   (206) 553-1100
